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MINUTE ENTRY
DOUGLAS, M.J.
MAY 30, 2019

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

NICKI LEVENDIS                                                    CIVIL ACTION

VERSUS                                                            NO. 19-1557

HARRAH’S NEW ORLEANS MANAGEMENT                                   SECTION "I" (3)
COMPANY, LLC., ET AL


       A settlement conference in the above matter was conducted this date.

       PRESENT:      Donald Massay
                     John Zazulak
                     Claire Pontier
                     Nicki Levendis
                     Jeffrey Raines


       Settlement cannot be reached at this time. Settlement negotiations will continue by

telephone.


                                            ___________________________________
                                            DANA M. DOUGLAS
                                            UNITED STATES MAGISTRATE JUDGE



MJSTAR(1.00)
